Case 2:24-cr-00257-CCW Document 67-4 Filed 03/31/25 Pagelof1

Dear Honorable Judge Weigand,

My name is Elyanna Sharbaji, and | am writing in support of my friend Mohamad who is
currently facing charges in your court. | have two sisters and two siblings, | am the eldest. | am a
case manager at ANSAR of Pittsburgh, have been working there for a year now. | am originally
Syrian, | immigrated to the USA about 9 years ago and have lived in Erie, PA for 4 years before
| moved to Pittsburgh for school.

Mohamad is such a bright soul. When he first sees you, even if you do not even know him well,
he will give you the biggest smile and hug you as if you've known each other your whole life. We
met through mutual friends and as soon as we talked, | knew | could speak to him for hours.
With each aspect of his life, he gives his entire soul to it. When it came to his studies, he was so
passionate about his love of learning. When it came to his friends and family, he would drop
everything if anyone ever needed someone. When it came to people in general, his love of
people showed through. It was always so hard for him to see people suffer or in need, so | know
it's hurting him right now not to be with his friends. But on top of that, it hurts me that | can't see
him as much anymore. | think about the times we have shared conversations over our cultural
foods or the times when we sat in silence just hungrily eating our food and laughing at how fast
we ate it. | miss our late-night debates over random things that now that | look back at them
were just so trivial. | miss the fact that now when | need someone, | have no one that | know |
could unconditionally trust with anything. When my car breaks down, | have no one reliable to
call that | know would pick me up. When | am depressed because of work or my family, | have
no one who would immediately come to my house and comfort me. | feel like | lost something
and | know the rest of our friends feel the same way.

| understand that the charges in this case are extremely serious. If Mohamad is not under house
arrest, as his friend, | will help make sure he has rides to court and that he can attend all his
court dates. | will help drive him to appointments, make sure that he will be a productive
member to our society and community. | will help him find a job and also ensure that he meets
all his conditions of release so he can succeed.

Thank you so much for reading this letter. You can reach me at if you need
more

information.

Sincerely,

Elyanna Sharbaji

EXHIBIT C
